                                 Case 2:17-cv-06538-RGK-AGR Document 40 Filed 03/09/18 Page 1 of 20 Page ID #:165



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                                      L.A. GEM & JEWELRY DESIGN, INC.
                                  7
                                                               UNITED STATES DISTRICT COURT
                                  8
                                                              CENTRAL DISTRICT OF CALIFORNIA
                                  9
                                      L.A. GEM & JEWELRY DESIGN,              Case No.: 2:17-cv-06538 RGK (AGRx)
                                 10   INC., a California Corporation,         District: Hon. R. Gary Klausner
                                 11                                           Magistrate: Hon. Alicia G. Rosenberg
                                                 Plaintiff,
                                 12
                                           v.                                 STIPULATED PROTECTIVE ORDER
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                                 13
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                                 14   WEST COAST JEWELRY, INC., a             [DISCOVERY DOCUMENT:
                                 15   California Corporation; JF              REFERRED TO MAGISTRATE
                                      COLLECTIONS, INC., an Ohio              JUDGE ALICIA G. ROSENBERG]
                                 16   Corporation; ARI Y. MAHLLER, an
                                 17   individual; TANYA MAHLLER, an
                                      individual; JOEL FORD, an individual;
                                 18
                                      MMA INTERNATIONAL, LLC, d/b/a
                                 19   SILVER STARS COLLECTION; and
                                 20   DOES 2-10,

                                 21              Defendants.
                                 22
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                                                                              -1-
                                 Case 2:17-cv-06538-RGK-AGR Document 40 Filed 03/09/18 Page 2 of 20 Page ID #:166




                                  1   1.      A. PURPOSES AND LIMITATIONS
                                  2           Discovery in this action is likely to involve production of confidential, proprietary,
                                  3   or private information for which special protection from public disclosure and from use
                                  4   for any purpose other than prosecuting this litigation may be warranted. Accordingly,
                                  5   the parties hereby stipulate to and petition the Court to enter the following Stipulated
                                  6   Protective Order. The parties acknowledge that this Order does not confer blanket
                                  7   protections on all disclosures or responses to discovery and that the protection it affords
                                  8   from public disclosure and use extends only to the limited information or items that
                                  9   are entitled to confidential treatment under the applicable legal principles. The parties
                                 10   further acknowledge, as set forth in Section 12.4, below, that this Stipulated Protective
                                 11   Order does not entitle them to file confidential information under seal; Civil Local Rule
                                 12   79-5 sets forth the procedures that must be followed and the standards that will be
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                                 13   applied when a party seeks permission from the court to file material under seal.
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                                 14
                                 15           B. GOOD CAUSE STATEMENT
                                 16           i.    Factual Background
                                 17           Plaintiff is in the business of manufacturing, marketing, and selling jewelry.
                                 18   Defendant is an online reseller for jewelry and other accessories. Because of the parties’
                                 19   status as competitors or potential competitors, business information such as supplier lists,
                                 20   customer lists, cost-of-goods sold, pricing, manufacturing agreements, and other, similar
                                 21   information are confidential and must be protected from disclosure, and with highly
                                 22   sensitive information, safeguards are necessary to limit the disclosure of such information
                                 23   to opposing parties and/or other competitors in the market so as to avoid competitive
                                 24   harm.
                                 25           The threshold issues in the complaint center on copyright infringement allegations.
                                 26   Resolution of these issues and damages analysis may require evidence of, but not limited
                                 27   to, customer lists, cost of manufactures, supplier lists, sales data, and channels of trade.
                                 28           ii.   The Proposed Protective Order Focuses on the Protection of Commercially

                                                                                    -2-
                                 Case 2:17-cv-06538-RGK-AGR Document 40 Filed 03/09/18 Page 3 of 20 Page ID #:167




                                  1   Sensitive Business Information
                                  2         Federal Rule Civil Procedure Rule 26(c)(7) permits the grant of a protective order
                                  3   upon a showing of good cause, and provides that the protection of a trade secret or other
                                  4   confidential commercial information is a proper basis for the issuance of a protective
                                  5   order. The party seeking such an order must demonstrate a particular and specific need
                                  6   for the protective order. Gary v. Rodewald, 133 F.R.D. 39, 40 (N.D. Cal. 1990).
                                  7         A protective order that focuses on preventing disclosure of particular information,
                                  8   e.g., confidential business information, where disclosure would “likely cause serious
                                  9   harm,” is supported by good cause. Hayden v. Siemens Medical Systems, Inc., 106
                                 10   F.R.D. 551, 556 (S.D.N.Y. 1985). To support a showing of good cause, however, a
                                 11   protective order must be sufficiently tailored in the information it seeks to protect, e.g. by
                                 12   designating certain classes or types of information. Id.
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                                 13         A “blanket” protective order, as opposed to a broader “umbrella” protective order,
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                                 14   “permits the parties to protect the documents that they in good faith believe contain trade
                                 15   secrets or other confidential commercial information. Such protective orders are
                                 16   routinely agreed to by the parties and approved by the courts in commercial litigation,
                                 17   especially in cases between direct competitors.” Bayer AG and Miles Inc. v. Barr
                                 18   Laboratories, Inc., 162 F.R.D. 456, 465, (S.D.N.Y. 1995).
                                 19         As competitors or potential competitors, the parties’ proposed protective order was
                                 20   drafted to protect the confidentiality and disclosure of each party’s confidential business
                                 21   information and to provide extra precautions on the disclosure of highly sensitive
                                 22   business information, as defined below, and as balanced against the need and use for such
                                 23   information to prosecute and defend this action. Confidential information, whether
                                 24   designated CONFIDENTIAL or CONFIDENTIAL ATTORNEYS’ EYES ONLY, may
                                 25   be open to challenge by any party, any third party, or the public.
                                 26   2.    DEFINITIONS
                                 27         2.1    Action: this pending federal law suit, Case number 2:17-cv-06538.
                                 28         2.2    Challenging Party: a Party or Non-Party that challenges the

                                                                                   -3-
                                 Case 2:17-cv-06538-RGK-AGR Document 40 Filed 03/09/18 Page 4 of 20 Page ID #:168




                                  1   designation of information or items under this Order.
                                  2          2.3    “CONFIDENTIAL” Information or Items: information (regardless of
                                  3   how it is generated, stored or maintained) or tangible things that qualify for
                                  4   protection under Federal Rule of Civil Procedure 26(c), and as specified above in
                                  5   the Good Cause Statement shall be referred to as “CONFIDENTIAL
                                  6   INFORMATION.” CONFIDENTIAL INFORMATION may be designated as
                                  7   “CONFIDENTIAL” or “CONFIDENTIAL-ATTORNEYS’ EYES ONLY,” as
                                  8   follows:
                                  9                 (a)       CONFIDENTIAL designation. A party or non-party may designate
                                 10   material CONFIDENTIAL only if it deems that a reasonable basis exists for limiting
                                 11   dissemination of the material under the standards of Rule 26 and that the material
                                 12   contains confidential and/or proprietary commercial information that is not generally
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                                 13   available to the public.
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                                 14                 (b)       CONFIDENTIAL-ATTORNEYS’ EYES ONLY designation. A party
                                 15   or non-party may only designate material CONFIDENTIAL-ATTORNEYS’ EYES
                                 16   ONLY if it deems that disclosure of such material to another person or party would be
                                 17   injurious to the commercial interests of the designating entity under the standards of Rule
                                 18   26 and that the material contains highly propriety technical or trade secret or business
                                 19   information so that the risk of improper use or disclosure to another party outweighs the
                                 20   right of that party to review such information.
                                 21          2.4    Counsel: Outside Counsel of Record and House Counsel (as well as
                                 22   their support staff).
                                 23          2.5    Designating Party: a Party or Non-Party that designates information or
                                 24   items that it produces in disclosures or in responses to discovery as
                                 25   “CONFIDENTIAL.”
                                 26          2.6    Disclosure or Discovery Material: all items or information, regardless
                                 27   of the medium or manner in which it is generated, stored, or maintained (including,
                                 28   among other things, testimony, transcripts, and tangible things), that are produced or

                                                                                   -4-
                                 Case 2:17-cv-06538-RGK-AGR Document 40 Filed 03/09/18 Page 5 of 20 Page ID #:169




                                  1   generated in disclosures or responses to discovery in this matter.
                                  2         2.7    Expert: a person with specialized knowledge or experience in a matter
                                  3   pertinent to the litigation who has been retained by a Party or its counsel to serve as
                                  4   an expert witness or as a consultant in this Action.
                                  5         2.8    House Counsel: attorneys who are employees of a party to this Action.
                                  6   House Counsel does not include Outside Counsel of Record or any other outside
                                  7   counsel.
                                  8         2.9    Non-Party: any natural person, partnership, corporation, association, or
                                  9   other legal entity not named as a Party to this action.
                                 10         2.10 Outside Counsel of Record: attorneys who are not employees of a
                                 11   party to this Action but are retained to represent or advise a party to this Action and
                                 12   have appeared in this Action on behalf of that party or are affiliated with a law firm
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                                 13   which has appeared on behalf of that party, and includes support staff.
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                                 14         2.11 Party: any party to this Action, including all of its officers, directors,
                                 15   employees, consultants, retained experts, and Outside Counsel of Record (and their
                                 16   support staffs).
                                 17         2.12 Producing Party: a Party or Non-Party that produces Disclosure or
                                 18   Discovery Material in this Action.
                                 19         2.13 Professional Vendors: persons or entities that provide litigation support
                                 20   services (e.g., photocopying, videotaping, translating, preparing exhibits or
                                 21   demonstrations, and organizing, storing, or retrieving data in any form or medium)
                                 22   and their employees and subcontractors.
                                 23         2.14 Protected Material: any Disclosure or Discovery Material that is
                                 24   designated as “CONFIDENTIAL.”
                                 25         2.15 Receiving Party: a Party that receives Disclosure or Discovery
                                 26   Material from a Producing Party.
                                 27   3.    SCOPE
                                 28         The protections conferred by this Stipulation and Order cover not only

                                                                                    -5-
                                 Case 2:17-cv-06538-RGK-AGR Document 40 Filed 03/09/18 Page 6 of 20 Page ID #:170




                                  1   Protected Material (as defined above), but also (1) any information copied or
                                  2   extracted from Protected Material; (2) all copies, excerpts, summaries, or
                                  3   compilations of Protected Material; and (3) any testimony, conversations, or
                                  4   presentations by Parties or their Counsel that might reveal Protected Material.
                                  5            3.1   CONFIDENTIAL INFORMATION which is subject to this Protective
                                  6   Order may be marked and used as trial exhibits by either party, subject to terms and
                                  7   conditions as imposed by the trial court upon application by the designating party.
                                  8   4.       DURATION
                                  9            Even after final disposition of this litigation, the confidentiality obligations
                                 10   imposed by this Order shall remain in effect until a Designating Party agrees
                                 11   otherwise in writing or a court order otherwise directs. Final disposition shall be
                                 12   deemed to be the later of (1) dismissal of all claims and defenses in this Action,
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                                 13   with or without prejudice; and (2) final judgment herein after the completion and
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                                 14   exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
                                 15   including the time limits for filing any motions or applications for extension of time
                                 16   pursuant to applicable law.
                                 17   5.       DESIGNATING PROTECTED MATERIAL
                                 18            5.1   Exercise of Restraint and Care in Designating Material for Protection.
                                 19   Each Party or Non-Party that designates information or items for protection under this
                                 20   Order must take care to limit any such designation to specific material that qualifies
                                 21   under the appropriate standards. The Designating Party must designate for protection
                                 22   only those parts of material, documents, items, or oral or written communications that
                                 23   qualify so that other portions of the material, documents items, or communications for
                                 24   which protection is not warranted are not swept unjustifiably within the ambit of this
                                 25   Order.
                                 26            Mass, indiscriminate, or routinized designations are prohibited. Designations that
                                 27   are shown to be clearly unjustified or that have been made for an improper purpose
                                 28   (e.g., to unnecessarily encumber the case development process or to impose unnecessary

                                                                                      -6-
                                 Case 2:17-cv-06538-RGK-AGR Document 40 Filed 03/09/18 Page 7 of 20 Page ID #:171




                                  1   expenses and burdens on other parties) may expose the Designating Party to
                                  2   sanctions.
                                  3         If it comes to a Designating Party’s attention that information or items that it
                                  4   designated for protection do not qualify for protection, that Designating Party must
                                  5   promptly notify all other Parties that it is withdrawing the inapplicable designation.
                                  6         5.2    Manner and Timing of Designations. Except as otherwise provided in
                                  7   this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
                                  8   stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
                                  9   under this Order must be clearly so designated before the material is disclosed or
                                 10   produced.
                                 11         Designation in conformity with this Order requires:
                                 12                (a)    for information in documentary form (e.g., paper or electronic
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                                 13   documents, but excluding transcripts of depositions or other pretrial or trial
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                                 14   proceedings), that the Producing Party affix at a minimum, the legend
                                 15   “CONFIDENTIAL” or “CONFIRDENTIAL – ATTORNEYS’ EYES ONLY”
                                 16   (hereinafter “CONFIDENTIAL legend”), to each page that contains protected
                                 17   material. If only a portion or portions of the material on a page qualifies for
                                 18   protection, the Producing Party also must clearly identify the protected portion(s)
                                 19   (e.g., by making appropriate markings in the margins).
                                 20         A Party or Non-Party that makes original documents available for inspection
                                 21   need not designate them for protection until after the inspecting Party has indicated
                                 22   which documents it would like copied and produced. During the inspection and
                                 23   before the designation, all of the material made available for inspection shall be
                                 24   deemed “CONFIDENTIAL.” After the inspecting Party has identified the documents
                                 25   it wants copied and produced, the Producing Party must determine which documents,
                                 26   or portions thereof, qualify for protection under this Order. Then, before producing
                                 27   the specified documents, the Producing Party must affix the “CONFIDENTIAL
                                 28   legend” to each page that contains Protected Material. If only a portion or portions

                                                                                   -7-
                                 Case 2:17-cv-06538-RGK-AGR Document 40 Filed 03/09/18 Page 8 of 20 Page ID #:172




                                  1   of the material on a page qualifies for protection, the Producing Party also must
                                  2   clearly identify the protected portion(s) (e.g., by making appropriate markings in the
                                  3   margins).
                                  4                (b)    any and all documents, information, or materials provided by a
                                  5   party for the purpose of settlement discussion prior to the entry of this Order by the
                                  6   Court shall be deemed CONFIDENTIAL-ATTORNEYS’ EYES ONLY unless
                                  7   otherwise designated or agreed to, in writing, by the parties. Notwithstanding any
                                  8   other provisions of this Order, no such documents, information, or materials may be
                                  9   disclosed, shared, or otherwise used during any part of this case unless introduced
                                 10   again by the same providing party under this Order.
                                 11                (c)    Interrogatory Answers. If a party answering an interrogatory
                                 12   believes in good faith under the criteria set forth in Paragraph 2.3 above that its
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                                 13   answer contains CONFIDENTIAL INFORMATION, it shall set forth its answer in a
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                                 14   separate document that is produced and designated as CONFIDENTIAL or
                                 15   CONFIDENTIAL-ATTORNEYS’ EYES ONLY in the same manner as a produced
                                 16   document under subparagraph 5.2.(a). The answers to interrogatories should make
                                 17   reference to the separately produced document containing the answer, but such
                                 18   document should not be attached to the interrogatories.
                                 19                (d)    Deposition Transcripts. Portions of testimony taken at a
                                 20   deposition or conference and any corresponding exhibits may be designated as
                                 21   CONFIDENTIAL or CONFIDENTIAL–ATTORNEYS’ EYES ONLY by making a
                                 22   statement to that effect on the record at the deposition or other proceeding.
                                 23   Arrangements shall be made with the court reporter transcribing such proceeding to
                                 24   separately bind such portions of the transcript containing information designated as
                                 25   CONFIDENTIAL or CONFIDENTIAL–ATTORNEYS’ EYES ONLY and label such
                                 26   portions appropriately. For convenience, if a deposition transcript contains repeated
                                 27   references to CONFIDENTIAL INFORMATION which cannot conveniently be
                                 28   segregated from non-CONFIDENTIAL INFORMATION, the entire transcript may be

                                                                                   -8-
                                 Case 2:17-cv-06538-RGK-AGR Document 40 Filed 03/09/18 Page 9 of 20 Page ID #:173




                                  1   marked by the reporter as CONFIDENTIAL or CONFIDENTIAL–ATTORNEYS’
                                  2   EYES ONLY.
                                  3         A party may also designate information disclosed at a deposition as
                                  4   CONFIDENTIAL and/or CONFIDENTIAL-ATTORNEYS’ EYES ONLY by notifying
                                  5   all parties in writing, within 30 days of receipt of the transcript, of the specific pages and
                                  6   lines designated as such. Each party shall attach a copy of such written statement to the
                                  7   face of each transcript in its possession, custody or control. For 30 days after receipt of
                                  8   the transcript, depositions shall be treated as CONFIDENTIAL-ATTORNEYS’ EYES
                                  9   ONLY, but after that period any portions not designated as CONFIDENTIAL and/or
                                 10   CONFIDENTIAL-ATTORNEYS’ EYES ONLY may be disclosed.
                                 11                (e)    Multi-page Documents. A party may designate all pages of an
                                 12   integrated, multi-page document, including a deposition transcript, interrogatory
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                                 13   answers, and/or responses to document requests, as CONFIDENTIAL
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                                 14   INFORMATION by placing the label specified in subparagraph 2.3 on the first page
                                 15   of the document. If a party wishes to designate only certain portions of an integrated,
                                 16   multi-page document as CONFIDENTIAL INFORMATION, it should designate such
                                 17   portions immediately below the label on the first page of the document and place the
                                 18   label specified in subparagraph 2.3 on each page of the document containing
                                 19   CONFIDENTIAL INFORMATION.
                                 20                (f)    for information produced in some form other than documentary
                                 21   and for any other tangible items, that the Producing Party affix in a prominent place
                                 22   on the exterior of the container or containers in which the information is stored
                                 23   the legend “CONFIDENTIAL.” If only a portion or portions of the information
                                 24   warrants protection, the Producing Party, to the extent practicable, shall identify the
                                 25   protected portion(s).
                                 26         5.3    Inadvertent Failures to Designate. An inadvertent failure to designate
                                 27   qualified information or items does not, standing alone, waive the right to secure
                                 28   protection under this Protective Order for such material, provided that the designating

                                                                                    -9-
                             Case 2:17-cv-06538-RGK-AGR Document 40 Filed 03/09/18 Page 10 of 20 Page ID #:174




                                  1   party promptly notifies the Receiving Party, in writing, of its failure to properly
                                  2   designate the qualified information and corrects the designation after discovery of
                                  3   such inadvertent failure. Upon timely correction of a designation, the Receiving Party
                                  4   must make reasonable efforts to assure that the material is treated in accordance with
                                  5   the provisions of this Order.
                                  6   6.       CHALLENGING CONFIDENTIALITY DESIGNATIONS
                                  7         6.1    Timing of Challenges. Any Party or Non-Party may challenge a
                                  8   designation of confidentiality at any time that is consistent with the Court’s
                                  9   Scheduling Order.
                                 10         6.2    Meet and Confer. The Challenging Party shall initiate the dispute
                                 11   resolution process under Local Rule 37.1 et seq.
                                 12         6.3    The burden of persuasion in any such challenge proceeding shall be on
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                                 13   the Designating Party. Frivolous challenges, and those made for an improper
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                                 14   purpose (e.g., to harass or impose unnecessary expenses and burdens on other parties)
                                 15   may expose the Challenging Party to sanctions. Unless the Designating Party
                                 16   has waived or withdrawn the confidentiality designation, all parties shall continue
                                 17   to afford the material in question the level of protection to which it is entitled
                                 18   under the Producing Party’s designation until the Court rules on the challenge.
                                 19   7.    ACCESS TO AND USE OF PROTECTED MATERIAL
                                 20         7.1    Basic Principles. A Receiving Party may use Protected Material that is
                                 21   disclosed or produced by another Party or by a Non-Party in connection with this
                                 22   Action only for prosecuting, defending, or attempting to settle this Action. Such
                                 23   Protected Material may be disclosed only to the categories of persons and under the
                                 24   conditions described in this Order. When the Action has been terminated, a
                                 25   Receiving Party must comply with the provisions of section 13 below (FINAL
                                 26   DISPOSITION).
                                 27         Protected Material must be stored and maintained by a Receiving Party at a
                                 28   location and in a secure manner that ensures that access is limited to the persons

                                                                                   -10-
                             Case 2:17-cv-06538-RGK-AGR Document 40 Filed 03/09/18 Page 11 of 20 Page ID #:175




                                  1   authorized under this Order.
                                  2         7.2    Disclosure of “CONFIDENTIAL” Information or Items. Unless
                                  3   otherwise ordered by the court or permitted in writing by the Designating Party, a
                                  4   Receiving Party may disclose any information or item designated
                                  5   “CONFIDENTIAL” only to:
                                  6                (a)   the p a r t i e s a n d officers, directors, and employees (including
                                  7   House Counsel) of the parties, but only to the extent necessary to participate in, assist
                                  8   in and monitor the progress of this Action and for no other purpose;
                                  9                (b)   the Receiving Party’s Outside Counsel of Record in this Action,
                                 10   as well as employees of said Outside Counsel of Record to whom it is
                                 11   reasonably necessary to disclose the information for this Action;
                                 12                (c)   the court and its personnel;
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                                 13                (d)   court reporters and their staff;
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                                 14                (e)   consultants or experts and their staff who are employed for the
                                 15   purposes this Action and who have signed the “Acknowledgment and Agreement to
                                 16   Be Bound” (Exhibit A);
                                 17                (f)   the author, addressees and recipients of any document(s)
                                 18   containing the information who would have had access to such information by virtue
                                 19   of his/her employment, or a custodian or other person who otherwise possessed or
                                 20   knew the information; and for whom disclosure is reasonably necessary,
                                 21                (g)   during their depositions, witnesses, and attorneys for witnesses, in
                                 22   the Action to whom disclosure is reasonably necessary provided: (1) the deposing
                                 23   party requests that the witness sign the form attached as Exhibit A hereto; and (2) they
                                 24   will not be permitted to keep any confidential information unless they sign the
                                 25   “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise
                                 26   agreed by the Designating Party or ordered by the court. Pages of transcribed
                                 27   deposition testimony or exhibits to depositions that reveal Protected Material may
                                 28   be separately bound by the court reporter and may not be disclosed to anyone except

                                                                                  -11-
                             Case 2:17-cv-06538-RGK-AGR Document 40 Filed 03/09/18 Page 12 of 20 Page ID #:176




                                  1   as permitted under this Stipulated Protective Order;
                                  2                  (h)   any mediator or settlement officer, and their supporting
                                  3   personnel, mutually agreed upon by any of the parties engaged in settlement
                                  4   discussions;
                                  5                  (i)   outside counsel for the parties to this litigation and/or the
                                  6   insurance carriers for the parties to the litigation, including persons working solely in
                                  7   secretarial, clerical, and paralegal capacities, and who are providing assistance to
                                  8   counsel in this Action, and/or claims representatives and/or claims adjustors, upon the
                                  9   condition that such CONFIDENTIAL INFORMATION not be used in policy
                                 10   issuance determinations and be immediately destroyed by the insurance carriers upon
                                 11   completion of the instant litigation;
                                 12                  (j)   third-parties specifically retained to assist outside counsel in
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                                 13   copying, imaging, and/or coding of documents but for that purpose only, provided
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                                 14   that all such confidential documents are kept and maintained in a separate and secure
                                 15   place and that the third party retained to copy, image, or code confidential documents
                                 16   is not currently performing any services, either as an employee, consultant, or
                                 17   otherwise for any competitor of either party to this Action or for one having any
                                 18   interest adverse to either party to this Action; and
                                 19                  (k)   any other person as to whom the parties previously agree in
                                 20   writing.
                                 21         7.3      Disclosure of CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                 22   Material. Material or documents designated as CONFIDENTIAL – ATTORNEYS’
                                 23   EYES ONLY may be shown to the persons listed in Sections 7.2(b) through (k).
                                 24         7.4      Use of CONFIDENTIAL INFORMATION. Individuals who are
                                 25   authorized to review CONFIDENTIAL INFORMATION pursuant to this Protective
                                 26   Order shall hold the CONFIDENTIAL INFORMATION and its contents in
                                 27   confidence and shall not divulge it, either verbally or in writing, except as expressly
                                 28   permitted by this Protective Order, unless authorized to do so by a further order of

                                                                                    -12-
                             Case 2:17-cv-06538-RGK-AGR Document 40 Filed 03/09/18 Page 13 of 20 Page ID #:177




                                  1   this Court or as specifically required by law.
                                  2   8.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
                                  3   IN OTHER LITIGATION
                                  4         If a Party is served with a subpoena or a court order issued in other litigation that
                                  5   compels disclosure of any information or items designated in this Action as
                                  6   “CONFIDENTIAL,” that Party must:
                                  7                (a)   promptly notify in writing the Designating Party. Such
                                  8   notification shall include a copy of the subpoena or court order;
                                  9                (b)   promptly notify in writing the party who caused the subpoena or
                                 10   order to issue in the other litigation that some or all of the material covered by
                                 11   the subpoena or order is subject to this Protective Order. Such notification shall
                                 12   include a copy of this Stipulated Protective Order; and
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                                 13                (c)   cooperate with respect to all reasonable procedures sought to be
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                                 14   pursued by the Designating Party whose Protected Material may be affected.
                                 15         If the Designating Party timely seeks a protective order, the Party served with
                                 16   the subpoena or court order shall not produce any information designated in this
                                 17   action as “CONFIDENTIAL” before a determination by the court from which the
                                 18   subpoena or order issued, unless the Party has obtained the Designating Party’s
                                 19   permission. The Designating Party shall bear the burden and expense of seeking
                                 20   protection in that court of its confidential material and nothing in these provisions
                                 21   should be construed as authorizing or encouraging a Receiving Party in this Action
                                 22   to disobey a lawful directive from another court
                                 23   9.    A. NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED
                                 24   IN THIS LITIGATION
                                 25                (a)   The terms of this Order are applicable to information produced
                                 26   by a Non-Party in this Action and designated as “CONFIDENTIAL.” Such
                                 27   information produced by Non-Parties in connection with this litigation is protected
                                 28   by the remedies and relief provided by this Order. Nothing in these provisions

                                                                                  -13-
                             Case 2:17-cv-06538-RGK-AGR Document 40 Filed 03/09/18 Page 14 of 20 Page ID #:178




                                  1   should be construed as prohibiting a Non-Party from seeking additional protections.
                                  2                (b)    In the event that a Party is required, by a valid discovery
                                  3   request, to produce a Non-Party’s confidential information in its possession, and
                                  4   the Party is subject to an agreement with the Non-Party not to produce the Non-
                                  5   Party’s confidential information, then the Party shall:
                                  6                       (1)    promptly notify in writing the Requesting Party and the
                                  7   Non-Party that some or all of the information requested is subject to a
                                  8   confidentiality agreement with a Non-Party;
                                  9                       (2)     promptly provide the Non-Party with a copy of the
                                 10   Stipulated Protective Order in this Action, the relevant discovery request(s), and a
                                 11   reasonably specific description of the information requested; and
                                 12                       (3)     make the information requested available for inspection
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                                 13   by the Non-Party, if requested.
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                                 14                (c)    If the Non-Party fails to seek a protective order from this court
                                 15   within 14 days of receiving the notice and accompanying information, the Receiving
                                 16   Party may produce the Non-Party’s confidential information responsive to the
                                 17   discovery request. If the Non-Party timely seeks a protective order, the Receiving
                                 18   Party shall not produce any information in its possession or control that is subject to
                                 19   the confidentiality agreement with the Non-Party before a determination by the
                                 20   court. Absent a court order to the contrary, the Non-Party shall bear the burden
                                 21   and expense of seeking protection in this court of its Protected Material.
                                 22   10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
                                 23         In the event of disclosure of CONFIDENTIAL INFORMATION other than as
                                 24   authorized in this Protective Order, counsel for the party responsible for the disclosure
                                 25   shall (a) notify in writing all parties of the unauthorized disclosures, (b) make every
                                 26   effort to prevent further disclosure, including using its best efforts to retrieve all
                                 27   unauthorized copies of the Protected Material, (c) inform the person or persons to
                                 28   whom unauthorized disclosures were made of all the terms of this Order, and (d)

                                                                                    -14-
                             Case 2:17-cv-06538-RGK-AGR Document 40 Filed 03/09/18 Page 15 of 20 Page ID #:179




                                  1   request such person or persons to execute the “Acknowledgment and Agreement to
                                  2   Be Bound” that is attached hereto as Exhibit A. Upon written stipulation or motion, in
                                  3   accordance with Local Rule 37, the Court may order such further and additional relief
                                  4   as it deems necessary and just.
                                  5   11.    INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
                                  6   PROTECTED MATERIAL
                                  7          When a Producing Party gives notice to Receiving Parties that certain
                                  8   inadvertently produced material is subject to a claim of privilege or other protection,
                                  9   the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
                                 10   Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure
                                 11   may be established in an e-discovery order that provides for production without
                                 12   prior privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar
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                                 13   as the parties reach an agreement on the effect of disclosure of a communication or
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                                 14   information covered by the attorney-client privilege or work product protection, the
                                 15   parties may incorporate their agreement in the stipulated protective order submitted
                                 16   to the court.
                                 17   12.    MISCELLANEOUS
                                 18          12.1 Right to Further Relief. Nothing in this Order abridges the right of any
                                 19   person to seek its modification by the Court in the future.
                                 20          12.2 Right to Assert Other Objections. By stipulating to the entry of this
                                 21   Protective Order no Party waives any right it otherwise would have to object to
                                 22   disclosing or producing any information or item on any ground not addressed in this
                                 23   Stipulated Protective Order. Similarly, no Party waives any right to object on any
                                 24   ground to use in evidence of any of the material covered by this Protective Order.
                                 25          12.3 This Protective Order shall be without prejudice to the right of any party:
                                 26                   (a)   to request re-designation of material as CONFIDENTIAL,
                                 27   CONFIDENTIAL–ATTORNEYS’ EYES ONLY, or neither;
                                 28                   (b)   upon written stipulation, in accordance with Local Rule 37, to

                                                                                   -15-
                             Case 2:17-cv-06538-RGK-AGR Document 40 Filed 03/09/18 Page 16 of 20 Page ID #:180




                                  1   request the Court’s ruling on whether a document or information is
                                  2   CONFIDENTIAL, CONFIDENTIAL–ATTORNEYS’ EYES ONLY Material, or
                                  3   whether its use should be restricted;
                                  4                (c)     to present a motion to the Court under FRCP 26(c) for a separate
                                  5   protective order as to any document or information, including restrictions differing
                                  6   from those specified herein. Any challenge to a confidentiality designation shall be
                                  7   initiated pursuant to Local Rule 37 and the burden of persuasion in any such challenge
                                  8   shall be on the party who designated the material as CONFIDENTIAL or
                                  9   CONFIDENTIAL–ATTORNEYS’ EYES ONLY.
                                 10         The Protective Order shall not be deemed to prejudice the parties in any way in
                                 11   any future application for modification of this Protective Order.
                                 12         12.4 Filing Protected Material. Any CONFIDENTIAL INFORMATION (or
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                                 13   documents containing CONFIDENTIAL INFORMATION) to be filed with the Court
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                                 14   shall be filed under seal pursuant to the procedures set forth in Civil Local Rule 79-5.
                                 15   Protected Material may only be filed under seal pursuant to a court order authorizing
                                 16   the sealing of the specific Protected Material at issue. If a Party's request to file
                                 17   Protected Material under seal is denied by the court, then the Receiving Party may file
                                 18   the information in the public record unless otherwise instructed by the court. The parties
                                 19   agree that exhibits provided to any jury impaneled in this Action shall be provided
                                 20   without the CONFIDENTIAL or CONFIDENTIAL–ATTORNEYS’ EYES ONLY
                                 21   stamp.
                                 22         12.5 Nothing herein shall impose any restriction on the use or disclosure by a
                                 23   party of material:
                                 24                (a)     obtained lawfully by a party hereto other than through discovery in
                                 25   this Action, from a person who, to the best of such party’s knowledge, was not at the time
                                 26   such materials were obtained by such party under a duty (contractual or otherwise) to
                                 27   maintain such materials in confidence; and
                                 28                (b)     that is public knowledge or became public knowledge after disclosure

                                                                                   -16-
                             Case 2:17-cv-06538-RGK-AGR Document 40 Filed 03/09/18 Page 17 of 20 Page ID #:181




                                  1   under this Protective Order (other than through an act or omission or a person receiving
                                  2   material under this Protective Order).
                                  3         12.6 Custody. All Receiving Parties of CONFIDENTIAL material and
                                  4   information under this Protective Order shall maintain such material and information
                                  5   secured and shall exercise the same standard of care with respect to storage, custody, use
                                  6   and dissemination of the material as they exercise for their own proprietary information,
                                  7   but in no event shall the standard be less than that of a reasonable person.
                                  8   13.   FINAL DISPOSITION
                                  9         After the final disposition of this Action, as defined in paragraph 4, each
                                 10   Receiving Party must assemble and return all Protected Material to the Producing
                                 11   Party or destroy such material. As used in this subdivision, “all Protected Material”
                                 12   includes all copies, abstracts, compilations, summaries, and any other format
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                                 13   reproducing or capturing any of the Protected Material. Notwithstanding this
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                                 14   provision, Counsel are entitled to retain an archival copy of all pleadings, motion
                                 15   papers, trial, deposition, and hearing transcripts, legal memoranda, correspondence,
                                 16   deposition and trial exhibits, expert reports, attorney work product, and consultant
                                 17   and expert work product, even if such materials contain Protected Material. Any such
                                 18   archival copies that contain or constitute Protected Material remain subject to this
                                 19   Protective Order as set forth in Section 4 (DURATION).
                                 20   14.   Any violation of this Order may be punished by any and all appropriate
                                 21   measures including, without limitation, contempt proceedings and/or monetary
                                 22   sanctions.
                                 23
                                 24   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
                                 25   DATED: March 9, 2018
                                 26   /s/ Milord A. Keshishian
                                 27   Milord A. Keshishian
                                      Attorneys for Plaintiff,
                                 28   L.A. GEM & JEWELRY DESIGN, INC.

                                                                                  -17-
                             Case 2:17-cv-06538-RGK-AGR Document 40 Filed 03/09/18 Page 18 of 20 Page ID #:182




                                  1   DATED: March 9, 2018
                                  2   /s/ Bill Cobb
                                  3   Bill Cobb
                                      Erica J. Van Loon
                                  4   Jenny Lee Smith
                                  5   Brittany Elias
                                      Attorneys for Defendant,
                                  6
                                      MMA INTERNATIONAL, LLC DBA
                                  7   SILVER STARS COLLECTION
                                  8
                                  9   FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
                                 10   DATED: March 9, 2018
                                 11
                                 12
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                                      Honorable Alicia G. Rosenberg
 Los Angeles, California 90064




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                                 14   United States Magistrate Judge
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                             Case 2:17-cv-06538-RGK-AGR Document 40 Filed 03/09/18 Page 19 of 20 Page ID #:183




                                  1                         Attestation Pursuant to L.R. 5-4.3.4(a)(2)(i)
                                  2
                                            I hereby attest that all other signatories listed, and on whose behalf the filing is

                                  3
                                      submitted, concur in the filing’s content and have authorized the filing.

                                  4
                                      Dated: March 9, 2018                    /s/ Milord A. Keshishian
                                  5                                           Milord A. Keshishian
                                  6                                           Attorneys for Plaintiff,
                                                                              L.A. GEM & JEWELRY DESIGN, INC.
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                             Case 2:17-cv-06538-RGK-AGR Document 40 Filed 03/09/18 Page 20 of 20 Page ID #:184




                                  1                                           EXHIBIT A
                                  2                ACKNOWLEDGEMENT AND AGREEMENT TO BE BOUND
                                  3
                                  4      I, _______________________________, [print or type full name], of
                                  5   _____________________________________, [print or type full address], declare
                                  6   under penalty of perjury that I have read in its entirety and understand the Stipulated
                                  7   Protective Order that was issued by the United Stated District Court for the Central
                                  8   District of California on [date] in the case of L.A. Gem & Jewelry Design, Inc. v. West
                                  9   Coast Jewelry, Inc., et al., Case No. 2:17-cv-06538 RGK (AGRx). I agree to comply
                                 10   with and to be bound by all the terms of this Stipulated Protective Order and I
                                 11   understand and acknowledge that failure to so comply could expose me to sanctions
                                 12   and punishment in the nature of contempt. I solemnly promise that I will not disclose
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                                 13   in any manner any information or item that is subject to this Stipulated Protective
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                                 14   Order to any person or entity except in strict adherence with the provisions of this
                                 15   Order. I further agree to submit to the jurisdiction of the United States District Court
                                 16   for the Central District of California for the purpose of enforcing the terms of this
                                 17   Stipulated Protective Order, even if such enforcement proceedings occur after
                                 18   termination of this action. I hereby appoint __________________________[print or
                                 19   type full name] of _________________________________________ [print or type
                                 20   full address and telephone number] as my California agent for service of process in
                                 21   connection with this action or any proceedings related to enforcement of this
                                 22   Stipulated Protective Order.
                                 23   Date:
                                 24   City and State where sworn and signed:
                                 25
                                 26   Printed name:
                                 27   Signature:
                                 28


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